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        The Government further requests that the Court exclude time in the above-captioned matter
under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), from November 30, 2020 to December 18, 2020
to allow the parties to prepare for and schedule an arraignment on an superseding information and
change of plea in this case. The Government respectfully submits that the requested exclusion of time
would serve the ends of justice and outweigh the best interests of the public and the defendant in a
speedy trial, as the parties expect that it will allow for a pre-trial resolution of this matter. Attached is
a proposed order excluding time under the Speedy Trial Act. The Government has consulted defense
counsel with respect to this request, and defense counsel has no objection.



                                                          Respectfully submitted,

                                                          AUDREY STRAUSS
                                                          Acting United States Attorney

                                                 By:         /s/ Courtney L. Heavey
                                                          Courtney L. Heavey
                                                          Assistant United States Attorney
                                                          (914) 993-1927

Cc: Susan Necheles, Esq. and Gedalia Stern, Esq. (counsel for the defendant)




                    It is the Court’s determination that in order to prevent serious harm to the interests
                   of justice, Defendant can and should be permitted to change his plea by video
                   teleconference or by telephone conference before a Magistrate Judge of this Court
                   pursuant to the CARES Act § 15002(b)(2)(A). Accordingly, the parties' request is
                   granted and the plea hearing for Defendant be conducted by video teleconference or
                   by telephone conference (if video conference is unavailable) before this Court or a
                   Magistrate Judge at a date and time mutually convenient to the Court and all parties
                   concerned.

                   Dated: Nov. 25, 2020
